                      Case 1:23-cr-00078-RBW Document 1 Filed 07/29/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of &ROXPELD

                  United States of America                            )
                             v.                                       )
                                                                      )      Case No.
                  Jerod Thomas Bargar
                                                                      )
                    DOB: XXXXXX                                       )
                                                                      )
                                                                      )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021               in the county of                                       in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                       Offense Description
        18 U.S.C. § 1752(a)(1) and (b)(1)(A)- Entering and Remaining in a Restricted Building or Grounds with a Deadly or
        Dangerous Weapon,
        40 U.S.C. § 5104(e)(1)- Unlawful Possession of a Firearm on Capitol Grounds or Buildings,
        22 D.C. Code § 504(a)(1), and 7 D.C. Code §§ 2502.01(a), and 2506.01(a)(3) - Unlawful possession a pistol, firearm, or
        ammunition outside their home or place of business, in the District of Columbia, without a valid license and registration
        certificate issued by the District of Columbia,
        7 D.C. Code § 2506.01(b) - Unlawful possession, sell, or transfer any large capacity ammunition feeding device, in the
        District of Columbia.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                 Complainant’s signature

                                                                                       Patrick Francisco, Special Agent
                                                                                                  Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                             Digitally signed
                                                                                                       by G. Michael
Date:             07/29/2022                                                                           Harvey
                                                                                                    Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                                  Printed name and title
